
AMY, J.,
concurring in the result.
In my opinion, an affirmation of the trial court is appropriate. However, I reach this result solely by reference to La.R.S. 33:441. The first portion of the statute, Sections A and B, sets forth the powers of the Mayor’s court. The final portion of the statute, La.R.S. 33:441(0(2), provides a presiding officer of a mayor’s court with judicial immunity for “official acts as presiding officer in the same capacity as a judge in this state.” It is my opinion that Section C of La.R.S. 33:441 encompasses all of the duties attendant to that position. Accordingly, I find the matter resolved by reference to this statute alone.
I respectfully concur in the result reached by the majority.
